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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION
                             www.flsb.uscourts.gov


In re: Marty L. Taylor-Bey                    Case No: 19-23123-LMI

Debtor                       /                Chapter 13



                                 CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on April 17, 2020, a true and correct copy of the
Amended Notice of Hearing (DE 55) was transmitted electronically to:

Jennifer Laufgas on behalf of Creditor Bayview Loan Servicing, LLC
ecfflsb@aldridgepite.com, jlaufgas@ecf.courtdrive.com

Wanda D Murray on behalf of Creditor Bayview Loan Servicing, LLC
ecfflsb@aldridgepite.com, WMurray@ecf.courtdrive.com

Nancy K. Neidich
e2c8f01@ch13miami.com, ecf2@ch13miami.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

SENT VIA U.S. MAIL TO:

Miami Dade County Stormwater Utility
701 NW 1st Court Suite 400
Miami, FL 33136

Miami-Dade County Code Enforcement
111 NW First Street Suite 1750
Miami, FL 33128

                                       Respectfully submitted,

                                       LEGAL SERVICES OF GREATER
                                       MIAMI, INC.
                                       By     s/
                                       Florida Bar No. 0241970
                                       4343 West Flagler Street, Ste. 100
                                       Miami, FL 33134
                                       Telephone/Facsimile: (305) 438-2427
                                       Primary: Clombardi@legalservicesmiami.org;
                                       Alt.: Sfreire@legalservicesmiami.org
